   Case 22-05849         Doc 18     Filed 06/02/22 Entered 06/02/22 17:35:22              Desc Main
                                      Document     Page 1 of 4


                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

IN RE:                                                   )
                                                         )
AGATA POGORZELSKA, DEBTOR                                )      No. 22-5849
                                                         )      Chapter 13
                                                         )      Judge Baer
                                                         )      DuPage

                              RESPONSE TO MOTION TO DISMISS

         NOW COMES DEBTOR, AGATA POGORZELSKA, by and through her attorney, John

Haderlein, Esq., and in response to Trustee’s motion to dismiss, filed its objection, and in response

to Trustee’s motion, herein states as follows:

         1. This case was filed on May 22, 2022, in order for Debtor to save her home from

foreclosure. The home was set for foreclosure sale on May 24, 2022.

         2. This is the first time debtor’s attorney has represented her, as he neither filed the first

two bankruptcy cases, nor did he ever represent her in the pending state court foreclosure

proceedings.

         3. Unbeknownst to Debtor’s attorney, this case was filed when there already was an open

bankruptcy case, namely 21-13636.

         4. Debtor’s attorney was under the mistaken apprehension that both of Debtor’s prior

cases, namely 20-20586, and 21-13636, had been dismissed. This was inadvertent.

         5. In fact, 20-20586 had been in fact dismissed on October 1, 2021, but 21-13636 is still

pending, but is also set to be dismissed on June 3, 2022.

         6. Trustee filed a motion to dismiss this case, alleging bad faith on behalf of the Debtor,

and requested a 180-day bar to further re-filings.

         7. Secured creditor Wilmington Trust (“Wilmington”) filed a response to Trustee’s

                                                     1
   Case 22-05849        Doc 18     Filed 06/02/22 Entered 06/02/22 17:35:22              Desc Main
                                     Document     Page 2 of 4


motion, also alleging bad faith on the part of the Debtor and supporting the 180-day bar.

        8. This case was not filed in bad faith.

        9. In order to demonstrate her good faith, and prior to the Trustee’s filing its motion to

dismiss, Debtor had already submitted her income and tax documents, bank statements, identity

verification, identity documents, Chapter 13 plan, and mailed the first plan payment to the trustee.

These are all indicia of good faith.

        10. Debtor does not contest the need to dismiss this case, as two open cases exist, however,

Debtor contests the punitive relief requested of this Court to bar further filings, as this filing was

done in good faith.

        11. Debtor in good faith continues to use her best effort in order to save her home from sale

pursuant to foreclosure. She recently applied for a mortgage modification, and has been told she

will receive a response from Wilmington within 30 days of application.

        12. Contrary to Trustee’s and Wilmington’s assertions to the contrary, this is not a

scheme to defraud Debtor’s creditors, but instead, this is a case that was filed due to inadvertence.

        WHEREFORE, Debtor requests the following relief:

        1. Dismiss this case without prejudice.

        2. Grant such other relief as this Court deems equitable and proper.

                                       Respectfully submitted:

                                       AGATA POGORZELSKA
                                       By: s/ John Haderlein, Esq.
                                       LAW OFFICES OF JOHN HADERLEIN, ESQ.
                                       815-C COUNTRY CLUB DRIVE
                                       LIBERTYVILLE, IL 60048
                                       (312) 316-4614 (voice/text)/
                                       (224) 433-6466 (facsimile)
                                       ARDC NO: 6197623/EMAIL: john@bklaw1.com
LIST:


                                                   2
   Case 22-05849      Doc 18     Filed 06/02/22 Entered 06/02/22 17:35:22          Desc Main
                                   Document     Page 3 of 4


22-05849 Notice will be electronically mailed to:

John A Haderlein on behalf of Debtor 1 Agata Pogorzelska
john@bklaw1.com

Patrick S Layng
USTPRegion11.ES.ECF@usdoj.gov

Glenn B Stearns
stearns_g@lisle13.com

Timothy R Yueill on behalf of Creditor Wilmington Trust, National Association, not in its
individual capacity, but solely as trustee for MFRA Trust 2014-2
timothyy@nevellaw.com22

22-05849 Notice will not be electronically mailed to:


22-05849 Notice will not be electronically mailed, and will be sent by United States Mail to:

David M. Katinsky Chief CTS Northern
Tax Division (DOJ)
PO Box 55-Ben Franklin Station
Washington, DC 20044

Fay Servicing LLC
PO Box 809441
CHICAGO, IL 60680

FIRST PREMIER BANK
PO BOX 5524
SIOUX FALLS, SD 57117

ILLINOIS DEPT OF REVENUE
PO BOX 19035
SPRINGFIELD, IL 62794

INTERNAL REVENUE SERVICE
PO BOX 7346
PHILADELPHIA, PA 19101

RESURGENT CAPITAL SERV.
PO BOX 10497
GREENVILLE, SC 29603

US ATTY CIVIL PROCESS CLERK
219 S. DEARBORN
ROOM 500
CHICAGO, IL 60604

                                                3
  Case 22-05849       Doc 18      Filed 06/02/22 Entered 06/02/22 17:35:22             Desc Main
                                    Document     Page 4 of 4


VERIZON WIRELESS
500 TECHNOLOGY DRIVE
SUITE 500
WELDON SPRINGS, MO 63304

WOJCIECH POGORZELSKI
366 N. EDGEWOOD AVE.
WOOD DALE, IL 60191
                                 CERTIFICATE OF SERVICE

         I, John Haderlein, Esq., certify that I served a copy of this notice and the attached motion
on each entity shown on the attached list at the address shown and by the method indicated on
the list on June 2, 2022, at 5:00 p.m.

                                         By: /S/ John Haderlein, Esq.

LAW OFFICES OF JOHN HADERLEIN, ESQ.
815-C COUNTRY CLUB DRIVE
LIBERTYVILLE, IL 60048
(312) 316-4614 (voice/text)
(224) 433-6466 (facsimile)
ARDC NO: 6197623
EMAIL: john@bklaw1.com




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